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                                EXHIBIT A




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                                 EXHIBIT B




                                                                    EXHIBIT B
Firefox                                                   https://courtlink.lexisnexis.com/cookcounty/FindDock.aspx?NCase=20...
          Case: 1:20-cv-01375 Document #: 37-1 Filed: 09/01/20 Page 25 of 31 PageID #:294




                                Case Information Summary for Case Number
                                             2019-M1-126044

           Filing Date: 08/29/2019                                      Case Type: CONTRACT
           Division: Municipal
                                                                        District: First Municipal
           Division
           Ad Damnum: $1216.05                                          Calendar:
                                                Party Information

           Plaintiff(s)                                                 Attorney(s)
           CAVALRY SPV I, LLC                                           SHINDLER KEITH S
                                                                        1990E ALGONQUIN180
                                                                        SCHAUMBURG IL, 60173
                                                                        (847) 537-1000
           CAVALRY SPV I, LLC
           Defendant(s)                     Defendant Date of Service Attorney(s)
                                                                      COMMUNITY
           SMITH CALVIN R
                                                                      LAWYERSGROUP LT
                                                                      73 W MONROE ST #502
                                                                      CHICAGO IL, 60603
                                                                      (312) 285-3227

                                                  Case Activity

           Activity Date: 08/29/2019                                 Participant: CAVALRY   SPV I, LLC
                                          CONTRACT COMPLAINT FILED
                    Court Room: 1104
                      Court Fee: 287.00                             Attorney: SHINDLER KEITH S
            Ad Damnum Amount: 1216.05


           Activity Date: 08/29/2019                                 Participant: CAVALRY   SPV I, LLC
                                   SUMMONS ISSUED AND RETURNABLE
                                                                    Attorney: SHINDLER KEITH S




1 of 5                                                                                                     8/7/2020, 11:08 AM
Firefox                                            https://courtlink.lexisnexis.com/cookcounty/FindDock.aspx?NCase=20...
          Case: 1:20-cv-01375 Document #: 37-1 Filed: 09/01/20 Page 26 of 31 PageID #:295

           Activity Date: 08/29/2019                             Participant: SMITH   CALVIN R
              IF SERVED, FILE AN APPEARANCE ON OR BEFORE ================>
                         Date: 09/27/2019


           Activity Date: 08/29/2019                        Participant: CAVALRY      SPV I, LLC
              IF SERVED, FILE AN APPEARANCE ON OR BEFORE ================>


           Activity Date: 09/20/2019                             Participant: SMITH   CALVIN R
                          SUMMONS RETURNED - N.S. REASON: NO CONTACT
                         Date: 09/19/2019


           Activity Date: 10/03/2019                        Participant: CAVALRY      SPV I, LLC
                              ALIAS SUMMONS ISSUED AND RETURNABLE
                         Date: 11/08/2019
                  Court Room: 1104                         Attorney: SHINDLER KEITH S
                    Court Fee: 6.00


           Activity Date: 10/03/2019                        Participant: CAVALRY      SPV I, LLC
              IF SERVED, FILE AN APPEARANCE ON OR BEFORE ================>
                         Date: 11/08/2019


           Activity Date: 11/06/2019                        Participant: CAVALRY      SPV I, LLC
                        SUMMONS NOT SERVED BY SPECIAL PROCESS SERVER
                                                           Attorney: SHINDLER KEITH S


           Activity Date: 11/12/2019                        Participant: CAVALRY      SPV I, LLC
                              ALIAS SUMMONS ISSUED AND RETURNABLE
                         Date: 12/20/2019
                  Court Room: 1104                         Attorney: SHINDLER KEITH S
                    Court Fee: 6.00


           Activity Date: 11/12/2019                        Participant: CAVALRY      SPV I, LLC
              IF SERVED, FILE AN APPEARANCE ON OR BEFORE ================>
                         Date: 12/20/2019


           Activity Date: 11/18/2019                        Participant: CAVALRY      SPV I, LLC



2 of 5                                                                                              8/7/2020, 11:08 AM
Firefox                                                  https://courtlink.lexisnexis.com/cookcounty/FindDock.aspx?NCase=20...
          Case: 1:20-cv-01375 Document #: 37-1 Filed: 09/01/20 Page 27 of 31 PageID #:296

                           SUMMONS SERVED BY SPECIAL PROCESS SERVER
                                                                 Attorney: SHINDLER KEITH S


           Activity Date: 12/20/2019                                   Participant: SMITH   CALVIN R
                                            CASE SET ON DEFAULT CALL
                         Date: 01/03/2020
                   Court Time: 0915
                  Court Room: 1104


           Activity Date: 01/03/2020                                   Participant: SMITH   CALVIN R
                                              POSTCARD GENERATED
                                                                 Attorney: PRO SE


           Activity Date: 01/03/2020                                   Participant: SMITH   CALVIN R
                                              DEFAULT - ALLOWED -
                                                                    Judge: BUIKEMA, JOEL D.


           Activity Date: 01/03/2020                                   Participant: SMITH   CALVIN R
                                            ASSESS COSTS - ALLOWED -
                                                                    Judge: BUIKEMA, JOEL D.


           Activity Date: 01/03/2020                                   Participant: SMITH   CALVIN R
                                       EX-PARTE JUDGMENT - ALLOWED -
            Ad Damnum Amount: 1216.05                               Judge: BUIKEMA, JOEL D.


           Activity Date: 01/31/2020                                   Participant: SMITH   CALVIN R
            MOTION TO VACATE, MODIFY/REINSTATE FINAL ORDER/JUDGMENT < OR =
                                       30 DAYS
                                                                 Attorney: COMMUNITY
                    Court Fee: 60.00
                                                                           LAWYERSGROUP LT


           Activity Date: 01/31/2020                                   Participant: SMITH   CALVIN R
                                             NOTICE OF MOTION FILED
                                                                 Attorney: COMMUNITY
                                                                           LAWYERSGROUP LT


           Activity Date: 01/31/2020                                   Participant: SMITH   CALVIN R


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Firefox                                                  https://courtlink.lexisnexis.com/cookcounty/FindDock.aspx?NCase=20...
          Case: 1:20-cv-01375 Document #: 37-1 Filed: 09/01/20 Page 28 of 31 PageID #:297

                                              MOTION SCHEDULED
                         Date: 02/24/2020
                                                                 Attorney: COMMUNITY
                   Court Time: 0200
                                                                           LAWYERSGROUP LT
                  Court Room: 1104


           Activity Date: 02/24/2020                                   Participant: SMITH   CALVIN R
             FILE APPEARANCE OR JURY DEMAND, ANSWER OR PLEAD - ALLOWED -
                                                                    Judge: BUIKEMA, JOEL D.


           Activity Date: 02/24/2020                                   Participant: SMITH   CALVIN R
                                            CASE SET ON STATUS CALL
                         Date: 03/13/2020
                   Court Time: 0930                                 Judge: BUIKEMA, JOEL D.
                  Court Room: 1104


           Activity Date: 02/26/2020                              Participant: CAVALRY      SPV I, LLC
                                            ELECTRONIC NOTICE SENT
                                                                 Attorney: SHINDLER KEITH S


           Activity Date: 02/27/2020                                   Participant: SMITH   CALVIN R
                            APPEARANCE FILED - FEE PAID - (JURY DEMAND)
                                                                 Attorney: COMMUNITY
                    Court Fee: 176.00
                                                                           LAWYERSGROUP LT


           Activity Date: 03/13/2020                                   Participant: SMITH   CALVIN R
                                            CASE SET ON STATUS CALL
                         Date: 05/08/2020
                   Court Time: 0930                                 Judge: MOLTZ MARTIN P
                  Court Room: 1104


           Activity Date: 03/18/2020                              Participant: CAVALRY      SPV I, LLC
                                            ELECTRONIC NOTICE SENT
                                                                 Attorney: SHINDLER KEITH S


           Activity Date: 05/01/2020                                   Participant: SMITH   CALVIN R
                                             POSTCARD GENERATED




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Firefox                                                    https://courtlink.lexisnexis.com/cookcounty/FindDock.aspx?NCase=20...
          Case: 1:20-cv-01375 Document #: 37-1 Filed: 09/01/20 Page 29 of 31 PageID #:298

                                                                   Attorney: COMMUNITY
                                                                             LAWYERSGROUP LT


           Activity Date: 05/01/2020                                Participant: CAVALRY      SPV I, LLC
                                            ELECTRONIC NOTICE SENT
                                                                   Attorney: SHINDLER KEITH S


           Activity Date: 05/08/2020                                Participant: CAVALRY      SPV I, LLC
                         ORDER OF COURT CONTINUANCE COVID-19 CLOSURE
                         Date: 07/17/2020
                   Court Time: 0930
                  Court Room: 1104


           Activity Date: 07/17/2020                                     Participant: SMITH   CALVIN R
                                       PLAINTIFF/DEFENDANT TO NOTIFY
                                                                      Judge: ALLEGRETTI, JOHN
                                                                             MICHAEL


           Activity Date: 07/17/2020                                     Participant: SMITH   CALVIN R
                                            CASE SET ON STATUS CALL
                         Date: 09/11/2020
                                                                      Judge: ALLEGRETTI, JOHN
                   Court Time: 0930
                                                                             MICHAEL
                  Court Room: 1104


           Activity Date: 07/29/2020                                Participant: CAVALRY      SPV I, LLC
                                            ELECTRONIC NOTICE SENT
                                                                   Attorney: SHINDLER KEITH S


                                                                                          Back to Top


                  Please note: Neither the Circuit Court of Cook County nor the Clerk of the
              Circuit Court of Cook County warrants the accuracy, completeness, or the currency
               of this data. This data is not an official record of the Court or the Clerk and may
                                  not be represented as an official court record.

              If data does not appear in a specific field, we likely do not have the responsive data
                                             in our master database.




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Case: 1:20-cv-01375 Document #: 37-1 Filed: 09/01/20 Page 30 of 31 PageID #:299




                                EXHIBIT C




                                                                    EXHIBIT C
Workspace Webmail :: Print                                           https://email14.godaddy.com/view_print_multi.php?uidArray=31880|I...
                   Case: 1:20-cv-01375 Document #: 37-1 Filed: 09/01/20 Page 31 of 31 PageID #:300

          Print | Close Window

           Subject: RE: Smith v Cavalry
             From: mario.kasalo@kasalolaw.com
              Date: Thu, Apr 16, 2020 5:22 pm
               To: "Jim Morrissey" <jmorrissey@pilgrimchristakis.com>
                   "Michael Wood" <mwood@communitylawyersgroup.com>, "Celetha Chatman"
               Cc:
                   <cchatman@communitylawyersgroup.com>, "Katrina Christakis" <kchristakis@pilgrimchristakis.com>
           Attach: image001.png

           Counsel:

           I have extensively reviewed the alleged agreement and case law relevant to the same, and do not
           believe that this claim is subject to arbitration.

           As your client intends to compel arbitration, it would also be helpful if your client could at this time
           provide the purchase agreement that relates to the alleged debt, as such agreements often have
           terms relevant to whether arbitration applies. Kindly advise if your client(s) is/are willing to do so.

           Finally, with respect to your request for an individual demand, if your client wishes to convey a
           settlement offer, I am of course required to convey the same. Thank you.


           Sincerely,

           Mario Kris Kasalo


           The Law Office of M. Kris Kasalo, Ltd.
           20 North Clark Street, Suite 3100
           Chicago, IL 60602
           Tel 312-726-6160
           Fax 312-698-5054
           mario.kasalo@kasalolaw.com

           The Law Office of M. Kris Kasalo, Ltd. accepts select consumer rights cases. These cases
           include, but are not limited to, cases of abusive and unlawful collection activity by debt
           collectors, debt defense, and credit reporting of false or obsolete (old) information.

           LEGAL NOTICES: This message is intended only for the named recipient. If you have
           received this in error, please notify us immediately by reply e-mail. Any other use,
           distribution, or copying of this information is prohibited. Nothing shall waive any right to
           confidentiality, attorney-client privilege or work product privilege. All rights reserved.



             -------- Original Message --------
             Subject: RE: Smith v Cavalry
             From: Jim Morrissey <jmorrissey@pilgrimchristakis.com>
             Date: Thu, April 16, 2020 4:59 pm
             To: "mario.kasalo@kasalolaw.com" <mario.kasalo@kasalolaw.com>
             Cc: Michael Wood <mwood@communitylawyersgroup.com>, Celetha Chatman
             <cchatman@communitylawyersgroup.com>, Katrina Christakis
             <kchristakis@pilgrimchristakis.com>

             Okay. Please let us know if Mr. Smith will dismiss his case in favor of individual arbitra on as
             required by his Card Agreement (again, which is a ached to his complaint).



1 of 11                                                                                                               8/7/2020, 12:03 PM
